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  Attorneys for Plaintiff

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION
___________________________________________
                                    )
TIKTOK INC.,                        )
                                    )
                        Plaintiff,  )
                                    )         CV-23-61-DLC
             v.                     )
                                    )         ACKNOWLEDGMENT AND
AUSTIN KNUDSEN, in his official )             ACCEPTANCE OF PRO HAC VICE
capacity as Attorney General of the )         ADMISSION
State of Montana,                   )
                                    )
                        Defendant. )
_______________________________)
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      I, Megan A. Crowley, admitted pro hac vice on May 24, 2023, hereby

acknowledge receipt of and accept the Court’s Order (Doc. 7), and I hereby affirm

the following conditions:

      1. Local counsel, Rob Cameron and Nathan D. Bilyeu of Jackson, Murdo &

Grant, P.C., serve as co-lead counsel;

      2. In accordance with the Court’s Order of May 24, 2023, I hereby confirm

that I will do my own work, do my own writing, sign my own pleadings, motions

and briefs, and will appear and participate personally in this proceeding;

      3. I have registered in the Court’s electronic filing system (CM-ECF);

      4. Local counsel, Rob Cameron and Nathan D. Bilyeu of Jackson, Murdo &

Grant, P.C., will, at all times and without exception, perform and carry out all duties

and responsibilities required of local counsel in compliance with L.R. 83.1(d)(7);

      5. Attorney Alexander A. Berengaut has authority to make any and all

decisions related to the administration of this case and will act as the primary point

of contact for the opposing party; and

      6. Admission is personal to me; it is not an admission of the Covington &

Burling law firm.




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DATED: May 26, 2023

                                          /s/ Megan A. Crowley
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